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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

    SAMSUNG ELECTRONICS CO., LTD.                   )
    AND SAMSUNG SEMICONDUCTOR,                      )
    INC.,                                           )
                                                    )
                         Plaintiffs,                )
                                                    )       C.A. No. 21-1453 (RGA)
          v.                                        )
                                                    )
    NETLIST, INC.,                                  )
                                                    )
                         Defendant.                 )


               SAMSUNG’S REPLY IN SUPPORT OF ITS MOTION FOR LEAVE
                         TO FILE SUR-REPLY BRIEF (D.I. 29)

                 Samsung respectfully submits this reply in support of its motion for leave to file a

sur-reply brief in opposition to Netlist’s Motion to Dismiss Plaintiffs’ First Amended Complaint.1

                 Netlist does not deny that its reply brief abandoned its argument for dismissal of

Samsung’s declaratory judgment claims involving the ’912 patent in favor of other tenuous

arguments never before raised. Netlist’s struggle results from the contradictory assertions that it

has made in two courts: In the Northern District of California, Netlist contends that Samsung’s

standard compliant memory modules infringe an apparatus claim of the ’912 patent, while in this

Court, Netlist maintains that Samsung cannot demonstrate a case or controversy regarding non-

infringement of the same patent. Rather than contend it presented its new arguments in its opening

brief, Netlist claims they are “responsive” to arguments made in Samsung’s answering brief.

D.I. 30 at 1-2. The Local Rules are clear, however, that “[t]he party filing the opening brief shall




1
         Netlist notes that Samsung waited fourteen days after Netlist served its reply to seek leave
to file a sur-reply. D.I. 30 at 1. Netlist fails to mention that Netlist delayed providing its position
on Samsung’s motion for leave for six days.
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not reserve material for the reply brief which should have been included in a full and fair opening

brief.” D. Del. LR 7.1.3(c)(2).

                Netlist could have made its new arguments in its opening brief. In the First

Amended Complaint (“FAC”), Samsung pled jurisdiction as to the ’912 patent on several grounds,

including Netlist’s allegations in a separate lawsuit that Google’s use of standard-compliant DDR4

products supplied by Samsung infringe claim 16 (D.I. 14 ¶¶ 14, 40-41), Netlist’s litigation campaign

against the industry, including an assertion of the ’912 patent against Inphi (id. ¶¶ 13, 15, 17-18),

and Samsung’s receipt of customer indemnification requests (id. ¶¶ 14, 43-44).2 Netlist chose to

focus, however, only on the indemnification requests in its opening brief. D.I. 25 at 7. When

Samsung pointed out the additional bases for jurisdiction in its answering brief, D.I. 27 at 6-8,

Netlist replied with previously undisclosed arguments, D.I. 28 at 3-4. On similar facts, the Court

has routinely permitted the responding party to file a sur-reply brief. See D.I. 29 at 2 (citing cases).3

                The remainder of Netlist’s opposition consists of improper argument on the merits

of Netlist’s motion to dismiss. D.I. 30 at 2–3. To the extent the Court is inclined to consider these

arguments, Samsung responds briefly as follows:




2
        Netlist is wrong to suggest that Samsung’s original complaint pled jurisdiction solely
“based on Google’s alleged indemnification request,” and that Samsung “did nothing” to bolster
the jurisdictional allegations in the FAC. D.I. 30 at 2. In the original complaint, Samsung alleged
that Netlist recently amended its infringement contentions in a lawsuit against Google to accuse
DDR4 memory modules supplied by Samsung and used in Google’s computer systems and
servers. See D.I. 1 ¶¶ 11, 25. In the FAC, Samsung elaborated on those infringement contentions
and attached documentary support. See D.I. 14 ¶¶ 14, 40-41, Exs. 8, 9.
3
        There is no merit to Netlist’s contention that Samsung should have cited the Geotag case
in its answering brief. D.I. 30 at 3. Samsung relied on the case to refute Netlist’s new reply
argument that Netlist’s infringement contentions against Google do not give rise to jurisdiction
because they do not reference Samsung by name. D.I. 29-1 at 2. Samsung could not have known
Netlist would make this argument in its reply.


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                First, Netlist argues that subject matter jurisdiction over the ’912 patent requires

not only an allegation that Samsung’s products “comply with” the accused JEDEC standard, but

also an allegation that they “implement” the specific part of the standard that is accused of

infringement (PDA mode). D.I. 30 at 2–3. Netlist’s hyper-technical pleading argument has no

merit. There is no dispute that Netlist is pursuing a claim that Samsung’s products infringe while

operating in PDA mode. It is that infringement claim—not the specific wording of the FAC—that

gives rise to declaratory judgment jurisdiction. See D.I. 29-1 at 1. Moreover, Netlist is wrong that

the FAC does not allege that the products at issue implement PDA mode. As Samsung previously

explained, the FAC specifically alleges that Samsung’s products do not infringe while “in the PDA

mode.” D.I. 14 ¶ 182.

                Second, Netlist argues that the FAC is deficient because it does not identify any

accused Samsung products beyond those that are already at issue in Netlist’s lawsuit against

Google. D.I. 30 at 3. Samsung’s non-infringement claim concerning the ’912 patent, however,

encompasses the standard-compliant products accused in the Google lawsuit and any other

products with materially similar functionality. D.I. 14 ¶¶ 55, 179, 185. In any event, Netlist cites

no authority for its novel proposition that a manufacturer suit must include additional products

beyond a customer suit in order for the manufacturer suit to proceed. Such a requirement is

fundamentally at odds with the Federal Circuit precedent giving preference to the manufacturer’s

suit. D.I. 27 at 7, 11.




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April 13, 2022




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                                CERTIFICATE OF SERVICE

               I hereby certify that on April 13, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

               I further certify that I caused copies of the foregoing document to be served on

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